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 2                          UNITED STATES DISTRICT COURT

 3                       SOUTHERN DISTRICT OF CALIFORNIA
 4   UNITED STATES OF AMERICA,
                                                  Case No.: 21-CR-2294-JLS
 5

 6                                                ORDER CONTINUING MOTION
            v.
                                                  HEARING / TRIAL SETTING AND
 7   JAINER SARAZAR, et. al.                      EXCLUDING TIME UNDER THE
                                                  SPEEDY TRIAL ACT
 8      Defendants.
 9

10         The parties jointly move to continue the motion hearing / trial setting set for October
11 8, 2021, at 1:30 p.m. The parties also jointly move to exclude time under the Speedy Trial

12 Act, 18 U.S.C. §§ 3161(h)(1)(D), 3161(h)(1)(F), 3161(h)(7) and 3161(h)(8).

13         For reasons stated in the joint motion, incorporated by reference herein, the Court
14 finds the ends of justice served by granting the requested continuance outweigh the best

15 interest of the public and the Defendants in a speedy trial.

16         In addition, given the grave public-health concerns discussed in Order of the Chief
17 Judge Nos. 18, 24, 27, 30, 33, 34, 40, 47, 50, 52, 52-A, 52-B, 52-C, 60, 63, 63-A, 63-B, 63-C,

18 63-D, and 63-E, the ends of justice served by a continuance in this case outweigh the best
19 interest of the public and Defendants in a speedy trial. Failure to grant the continuance

20 would be likely to make a continuation of the proceeding impossible or result in a

21 miscarriage of justice. Failure to continue the case would also likely put counsel, parties,

22 witnesses, and Court personnel at unnecessary risk. Due to the restrictions imposed by

23 current public-health concerns it is also unreasonable to expect adequate preparation for

24 pretrial proceedings or for the trial itself within the Speedy Trial Act time limits. Thus,

25 denial of a continuance is likely to deny all counsel reasonable time necessary for effective

26 preparation, taking into account the exercise of due diligence.
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 1         Accordingly, the Court finds that there are facts that support a continuance of the

 2 hearing date in this matter, and good cause for a finding of excludable time pursuant to the

 3 Speedy Trial Act, 18 U.S.C. § 3161.

 4         The Court further finds that time should continue to be deemed excludable under the

 5 Speedy Trial Act pursuant to 18 U.S.C. §§ 3161(h)(1)(D), 3161(h)(1)(F), 3161(h)(7) and

 6 3161(h)(8).

 7         IT IS ORDERED that the joint motion is granted. The motion hearing / trial setting

 8 shall be continued to January 14, 2022, at 1:45 p.m..

 9         IT IS FURTHER ORDERED that the time between the filing of the joint motion until

10 December 13, 2021, be deemed excludable time under the Speedy Trial Act pursuant to 18

11 U.S.C. §§ 3161(h)(1)(D), 3161(h)(7) and 3161(h)(8), in addition to any time excludable,

12 pursuant to 18 U.S.C. § 3161(h)(1)(F), resulting from pretrial motions already filed.

13         IT IS SO ORDERED.
     Dated: October 6, 2021
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